  Case 1:19-cv-01022-RGA Document 1 Filed 06/02/19 Page 1 of 11 PageID #: 1




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS, LLC,               )
                                          )
                   Plaintiff,             )
                                          )   C.A. No. ___________________
      v.                                  )
                                          )
METHODE ELECTRONICS, INC.,                )   DEMAND FOR JURY TRIAL
                                          )
                   Defendant.             )


           ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

      1.     Symbology Innovations, LLC (“Symbology” or “Plaintiff”), by and

through its counsel, hereby brings this action for patent infringement against

Methode Electronics, Inc., (“Methode” or “Defendant”) alleging infringement of

the following validly issued patent (the “Patent-in-Suit”): U.S. Patent No.

8,424,752, titled “System and method for presenting information about an object

on a portable electronic device” (the “ʼ752 Patent”), attached hereto as Exhibit A.

                            NATURE OF THE ACTION

      2.     This is an action for patent infringement arising under the United

States Patent Act 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.

                                     PARTIES

      3.     Plaintiff Symbology Innovations, LLC is a Texas company with its

principal place of business at 1400 Preston Road, Suite 400, Plano, TX 75093.

      4.     On information and belief, Methode Electronics, Inc. is a company

incorporated in Delaware and may be served by its registered agent The
                                 1
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01022-RGA Document 1 Filed 06/02/19 Page 2 of 11 PageID #: 2




Corporation Trust Company, Corporation Trust Center 1209 Orange St.,

Wilmington, DE 19801.

                          JURISDICTION AND VENUE

      5.    This lawsuit is a civil action for patent infringement arising under the

patent laws of the United States, 35 U.S.C. § 101 et seq. The Court has subject-

matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.

      6.    The Court has personal jurisdiction over Defendant for the following

reasons: (1) Defendant is present within or has minimum contacts within the State

of Delaware and the district of Delaware; (2) Defendant has purposefully availed

itself of the privileges of conducting business in the State of Delaware and in this

district; (3) Defendant has sought protection and benefit from the laws of the

State of Delaware; (4) Defendant regularly conducts business within the State of

Delaware and within this district, and Plaintiffʼs cause of action arises directly

from Defendantʼs business contacts and other activities in the State of Delaware

and in this district; and (5) Defendant is incorporated in Delaware and has

purposely availed itself of the privileges and benefits of the laws of the State of

Delaware.

      7.    Defendant, directly and/or through intermediaries, ships, distributes,

uses, offers for sale, sells, and/or advertises products and services in the United

States, the State of Delaware, and the District of Delaware including but not

limited to the products which contain the infringing ʼ752 Patent systems and

methods as detailed below. Upon information and belief, Defendant has

                                 2
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01022-RGA Document 1 Filed 06/02/19 Page 3 of 11 PageID #: 3




committed patent infringement in the State of Delaware and in this district;

Defendant solicits and has solicited customers in the State of Delaware and in this

district; and Defendant has paying customers who are residents of the State of

Delaware and this district and who each use and have used the Defendantʼs

products and services in the State of Delaware and in this district.

       8.    Venue is proper in the Southern District of Delaware pursuant to 28

U.S.C. §§ 1400(b). Defendant is incorporated in this district, has transacted

business in this district, and has directly and/or indirectly committed acts of

patent infringement in this district.

                                   PATENT-IN-SUIT

       9.    The Patent-in-Suit teaches systems and methods for enabling a

portable electronic device (e.g., smartphone) to retrieve information about an

object when the objectʼs symbology (e.g. QR code) is detected.

                                  COUNT I
                (Infringement of U.S. Patent No. 8,424,752)

       10.   Plaintiff incorporates by reference the allegations of paragraphs 1-9,

the same as if set forth herein.

       11.   The ʼ752 Patent is valid, enforceable, and was duly and legally issued

by the United States Patent and Trademark Office (“USPTO”) on April 23, 2013.

The ʼ752 Patent is presumed valid and enforceable. See 35 U.S.C. § 282.

       12.   Plaintiff is the owner by assignment of the ʼ752 patent and possesses

all rights of recovery under the ʼ752 patent, including the exclusive right enforce


                                 3
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01022-RGA Document 1 Filed 06/02/19 Page 4 of 11 PageID #: 4




the ʼ752 patent and pursue lawsuits against infringers.

       13.   On information and belief, Defendant has infringed and continues to

infringe on one or more claims of the ʼ752 Patent—directly, contributorily, and by

inducement—by importing, making, using, offering for sale, or selling products

and devices that embody the patented invention, including, without limitation, one

or more of the patented ʼ752 systems and methods, in violation of 35 U.S.C. § 271.



       Direct Infringement

       14.   On information and belief, Defendant has been and now is directly

infringing by, among other things, practicing all of the steps of the ʼ752 Patent

through internal testing and quality assurance. See Joy Techs., Inc. v. Flakt, Inc., 6

F.3d 770, 775 (Fed.Cir. 1993); see also 35 U.S.C. § 271 (2006). For instance,

Defendant has directly infringed the Patent-in-Suit by testing and troubleshooting

the functionality of QR codes on its products and/or services.

       15.   By way of example, Defendant has infringed and continues to infringe

on at least one or more claims, including at least Claim 1 of the ʼ752 Patent which

teaches

             A method comprising:
               capturing a digital image using a digital image capturing
                 device that is part of a portable electronic device;
               detecting symbology associated with an object within the
                 digital image using a portable electronic device;
               decoding the symbology to obtain a decode string using
                 one or more visual detection applications residing on
                 the portable electronic device;
               sending the decode string to a remote server for
               processing:
                                 4
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01022-RGA Document 1 Filed 06/02/19 Page 5 of 11 PageID #: 5




                receiving information about the object from the remote
                  server wherein the information is based on the decode
                  string of the object.
                displaying the information on a display device associated
                  with the portable electronic device.

       16.     On information and belief, at least through testing and quality

assurance, Defendant employs a method wherein a digital image (e.g., “QR code”)

associated with its products is captured by the camera of a portable electronic

device (e.g., a smartphone or tablet) (“capturing a digital image using a digital

image capturing device that is part of a portable electronic device”). See Figures

1, 2, and 3.




                 Figure 1                  Figure 2                   Figure 3

       17.     On information and belief, Defendant uses a smartphone, tablet, or

similar device to detect symbology (e.g., the QR code) associated with an object,

such as the Defendantʼs infringing product exhibited below in Figure 4 (“detecting

symbology associated with an object within the digital image using a portable

electronic device”).




                                 5
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01022-RGA Document 1 Filed 06/02/19 Page 6 of 11 PageID #: 6




                                       Figure 4
      18.    On information and belief, Defendant uses a smartphone, tablet, or

similar device to decode the symbology to obtain a decode string (e.g., hyperlink)

using the visual detection application residing in the smartphone, tablet, or similar

device (“decoding the symbology to obtain a decode string using one or more

visual detection applications residing on the portable electronic device”). For

example, a smartphone detects the symbology of the QR code on Defendantʼs

product and decodes the digital image captured on the smartphone camera to

produce a decoded hyperlink as shown in the figures below. The decoded string is

sent to a remote server for processing as shown in Figure 5 (“sending the decode

string to a remote server for processing”).




                                      Figure 5

                                 6
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01022-RGA Document 1 Filed 06/02/19 Page 7 of 11 PageID #: 7




      19.    On information and belief, after clicking the hyperlink obtained by

scanning the QR code associated with the product, the smartphone receives

information about the product from a remote server. (“receiving information about

the object from the remote server wherein the information is based on the decode

string of the object”). The information is received and displayed on a smartphone,

tablet, or similar device as shown in Figure 6 below (“displaying the information on

a display device associated with the portable electronic device”).




                                      Figure 6

      Induced Infringement

      20.    Defendant has been and now is indirectly infringing by way of

inducing infringement by others and/or contributing to the infringement by others

of the ʼ752 Patent in the State of Delaware, in this judicial District, and elsewhere

in the United States, by, among other things, making, using, offering for sale,

and/or selling, without license or authority, products affixed with QR codes that

require the accused technology for intended functionality, testing, configuration,

troubleshooting, and other utilization. End users include, for example, customers
                                 7
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01022-RGA Document 1 Filed 06/02/19 Page 8 of 11 PageID #: 8




and other third-parties.

       21.     Defendant took active steps to induce infringement, such as

advertising an infringing use, which supports a finding of an intention. See Metro-

Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932 (2005) (“[I]t may

be presumed from distribution of an article in commerce that the distributor

intended the article to be used to infringe another's patent, and so may justly be

held liable for that infringement.”).

       22.     The allegations herein support a finding that Defendant induced

infringement     of   the   ʼ752   Patent.   See   Power   Integrations    v.   Fairchild

Semiconductor, 843 F.3d 1315, 1335 (Fed. Cir. 2016)(“[W]e have affirmed

induced infringement verdicts based on circumstantial evidence of inducement

[e.g., advertisements, user manuals] directed to a class of direct infringers [e.g.,

customers, end users] without requiring hard proof that any individual third-party

direct infringer was actually persuaded to infringe by that material.”).

       Contributory Infringement

       23.     On information and belief, Defendant contributorily infringes on

Symbologyʼs ʼ752 Patent. Defendant knew or should have known, at the very least

as a result of its freedom to operate analyses, that third parties, such as its

customers, would infringe the ʼ752 Patent by utilizing Defendantʼs QR code

technology.

       24.     On information and belief, Defendantʼs implementation of the

accused functionality has no substantial non-infringing uses. See, e.g., Lucent

                                 8
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01022-RGA Document 1 Filed 06/02/19 Page 9 of 11 PageID #: 9




Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1321 (Fed. Cir. 2009) (holding that

the “substantial non-infringing use” element of a contributory infringement claim

applies to an infringing feature or component, and that an “infringing feature” of a

product does not escape liability simply because the product as a whole has other

non-infringing uses).

      Willful Infringement

      25.   On information and belief, the infringement of the ʼ752 Patent by

Defendant has been and continues to be willful. Defendant has had actual

knowledge of Symbologyʼs rights in the ʼ752 Patent and details of Defendantʼs

infringement based on at least the filing and service of this complaint.

Additionally, Defendant had knowledge of the ʼ752 Patent and its infringement in

the course of Defendantʼs due diligence and freedom to operate analyses.

      Plaintiff Suffered Damages

      26.   Defendantʼs acts of infringement of the ʼ752 Patent have caused

damage to Symbology, and Symbology is entitled to recover from Defendant the

damages sustained as a result of Defendantʼs wrongful acts in an amount subject

to proof at trial pursuant to 35 U.S.C. § 271. Defendantʼs infringement of

Symbologyʼs exclusive rights under the ʼ752 Patent will continue to damage

Symbology causing it irreparable harm for which there is no adequate remedy at

law, warranting an injunction from the Court.

                             REQUEST FOR RELIEF

      27.   Symbology incorporates each of the allegations in the paragraphs

                                 9
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
 Case 1:19-cv-01022-RGA Document 1 Filed 06/02/19 Page 10 of 11 PageID #: 10




above and respectfully asks the Court to:

      (a)   enter a judgment that Defendant has directly infringed, contributorily

      infringed, and induced infringement of one or more claims of each of the

      ʼ752 Patent;

      (b)   enter a judgment awarding Symbology all damages adequate to

      compensate it for Defendantʼs infringement of, direct or contributory, or

      inducement to infringe, the including all prejudgment and post-judgment

      interest at the maximum rate permitted by law;

      (c)   enter a judgment awarding treble damages pursuant to 35 U.S.C. §

      284 for Defendantʼs willful infringement of the ʼ752 Patent

      (d)   issue a preliminary injunction and thereafter a permanent injunction

      enjoining and restraining Defendant, its directors, officers, agents, servants,

      employees, and those acting in privity or in concert with them, and their

      subsidiaries, divisions, successors, and assigns, from further acts of

      infringement, contributory infringement, or inducement of infringement of

      the ʼ752 Patent;

      (e)   enter a judgment requiring Defendant to pay the costs of this action,

      including all disbursements, and attorneysʼ fees as provided by 35 U.S.C. §

      285, together with prejudgment interest; and

      (f)   award Symbology all other relief that the Court may deem just and

      proper.




                                 10
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
Case 1:19-cv-01022-RGA Document 1 Filed 06/02/19 Page 11 of 11 PageID #: 11




Dated: June 2, 2019               Respectfully submitted,


                                  /s/ Stamatios Stamoulis
                                  Stamatios Stamoulis #4606
                                  stamoulis@swdelaw.com
                                  Richard C. Weinblatt #5080
                                  weinblatt@swdelaw.com
                                  800 N. West Street Third Floor
                                  Wilmington, DE 19801
                                  (302) 999-1540

                                  KIRK. J. ANDERSON (SBN 289043)
                                  kanderson@budolaw.com
                                  M. GRANT MCARTHUR (SBN 321959)
                                  gmcarthur@budolaw.com
                                  BUDO LAW, LLP
                                  5610 Ward Rd., Suite #300
                                  Arvada, CO 80002
                                  (720) 225-9440 (Phone)
                                  (720) 225-9331 (Fax)

                                  Attorney(s) for Plaintiff Symbology
                                  Innovations, LLC.




                                11
   COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
